                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                                    )    Chapter 11
 In re:                                                             )
                                                                    )    Case No. 18-50757 (AMK)
 FIRSTENERGY SOLUTIONS CORP., et al.,1                              )    (Jointly Administered)
                                                                    )
                                    Debtors.                        )
                                                                    )    Hon. Judge Alan M. Koschik
                                                                    )

                  MOTION OF THE DEBTORS TO APPROVE SETTLEMENT
                      BETWEEN FIRSTENERGY SOLUTIONS CORP.
                       AND MEADVILLE FORGING COMPANY, L.P.

          FirstEnergy Solutions Corp. (“FES”) and its affiliated debtors and debtors-in-possession

 in the above-captioned chapter 11 cases (collectively, the “Debtors”), hereby submit this motion

 (the “Motion”) seeking entry of an order pursuant to section 105 of title 11 of the United States

 Code (the “Bankruptcy Code”) and Rule 9019(a) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”) approving the settlement agreement (the “Settlement Agreement”)2

 between FES and Meadville Forging Company, L.P. (“Meadville” and, together with FES, the

 “Settlement Parties”). The Settlement Agreement is attached hereto as Exhibit A. In support of

 this Motion, the Debtors submit the Declaration of Brian A. Farley in Support of the Motion of

 the Debtors to Approve Settlement between FirstEnergy Solutions Corp. and Meadville Forging

 Company, L.P. (the “Farley Declaration”) filed simultaneously herewith. In further support of

 this Motion, the Debtors respectfully submit as follows:

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy Generation, LLC (0561), case no.
 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp. (5914), case no. 18-50763; FirstEnergy Nuclear
 Generation, LLC (6394), case no. 18-50760; FirstEnergy Nuclear Operating Company (1483), case no. 18-50761;
 FirstEnergy Solutions Corp. (0186); and Norton Energy Storage, LLC (6928), case no. 18-50764. The Debtors’
 address is 341 White Pond Dr., Akron, OH 44320.
 2
   Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Settlement
 Agreement.




18-50757-amk        Doc 3088        FILED 08/22/19          ENTERED 08/22/19 15:24:26                 Page 1 of 15
                                     JURISDICTION AND VENUE

        1.      The United States Bankruptcy Court for the Northern District of Ohio (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is

 a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for the relief requested herein are sections 105 of the

 Bankruptcy Code and Rule 9019 of the Bankruptcy Rules.

                                          BACKGROUND

  A.    General Background

        4.      FES, through its subsidiaries and affiliates, is an owner and operator of coal and

 nuclear power generating facilities throughout Ohio and Pennsylvania. FES also enters into

 electricity supply agreements with large commercial and industrial customers, among other

 things. (Farley Declaration ¶ 9.)

        5.      Meadville is a Pennsylvania Limited Partnership engaged in the forging business

 located in Meadville, Pennsylvania, which manufactures metal products for the automotive

 industry.

        6.      FES has a commercial relationship with Meadville dating back to at least 2010.

 In July 2010, FES and Meadville entered into a Customer Supply Agreement for the supply of

 electricity for consumption at two of Meadville’s locations, or “service addresses” (as amended,

 the “CSA”). (See Declaration of Thomas R. Schmuhl in Support of the Debtors’ Motion for

 Entry of an Order Enforcing the Automatic Stay and for Contempt (the “Schmuhl Declaration”)

 [Dkt. No. 879], Ex. 1; Farley Declaration ¶ 10.)




                                                    2


18-50757-amk     Doc 3088      FILED 08/22/19           ENTERED 08/22/19 15:24:26     Page 2 of 15
        7.      In September 2014, the CSA was amended via a “Fixed Price Pricing

 Attachment,” which added a third service address and changed the price paid by Meadville for

 electricity. (See Schmuhl Decl., Ex. 2; Farley Declaration ¶ 10.)

        8.      In February 2016, FES and Meadville entered the Fixed Price Blend and Extend

 Amendment No. 2 to Customer Supply Agreement, whereby certain new pass-through costs were

 blended with lower energy prices over an extended contract term. (See Schmuhl Decl., Ex. 3;

 Farley Declaration ¶ 11.) Specifically, the term of the CSA was extended from January 2018 to

 December 2020. (Id.) Meadville represents that it has already entered into an electricity supply

 contract with a third party to provide electricity until December 31, 2022.

        9.      On April 17, 2018, three weeks after the Debtors filed for bankruptcy, Meadville

 sent a letter to FES purporting to terminate the CSA because of an ipso facto clause in the CSA

 and because Meadville claimed that the CSA was a “forward contract” and that FES and

 Meadville were “forward contract merchants” as those terms are defined in the Bankruptcy

 Code. (See Debtors’ Motion for Entry of an Order Enforcing the Automatic Stay and for

 Contempt (the “Motion to Enforce Automatic Stay”) [Dkt. No. 878], Ex. B; Farley Declaration

 ¶ 12.) On April 27, 2018, the FES sent a letter to Meadville, stating that Meadville’s attempt to

 terminate the CSA was a violation of the automatic stay and void. (See Motion to Enforce

 Automatic Stay, Ex. C; Farley Declaration ¶ 12.)

        10.     On June 28, 2018, FES received notice that Meadville had switched electricity

 providers at one of Meadville’s three service addresses. (See Schmuhl Decl., Ex. 5; Farley

 Declaration ¶ 13.) On June 29, 2018, Meadville ceased purchasing electricity from FES at that

 service address. (Id.)




                                                  3


18-50757-amk     Doc 3088      FILED 08/22/19         ENTERED 08/22/19 15:24:26       Page 3 of 15
        11.    On July 3, 2018, FES filed the Debtors’ Motion for Entry of an Order Enforcing

 the Automatic Stay and for Contempt [Dkt. No. 878], seeking to enforce the automatic stay by

 requiring Meadville to, among other things, continue to perform its obligations under the CSA

 and for Meadville to be sanctioned for violating the automatic stay. On July 3, 2018, FES also

 filed the Schmuhl Declaration.

        12.    On July 5, 2018, Meadville filed its Response to Debtors’ Motion for Entry of an

 Order Enforcing the Automatic Stay and for Contempt [Dkt. No. 891].

        13.    Also on July 5, 2018, the Court held a hearing on the Motion to Enforce

 Automatic Stay (the “Preliminary Hearing”). At the Preliminary Hearing, the Court ruled that

 FES had shown a likelihood of success on the merits and granted the Motion to Enforce

 Automatic Stay on a limited basis. The Court then granted the Settlement Parties time to

 develop an evidentiary record in advance of a final hearing on the merits. The Court’s ruling

 subsequently was memorialized in the Preliminary Order Enforcing the Automatic Stay, dated

 July 10, 2018 (the “Preliminary Order”) [Dkt. No. 912].

        14.    On September 4, 2018, Meadville filed its Supplemental Response to Debtors’

 Motion for Entry of an Order Enforcing the Automatic Stay and for Contempt [Dkt. No. 1271].

        15.    On September 10, 2018, the Debtors filed the Debtors’ Reply to the Supplemental

 Response by Meadville Forging Company, L.P. to Debtors’ Motion for Entry of an Order

 Enforcing the Automatic Stay and for Contempt [Dkt. No. 1316].

        16.    The Court held a final hearing on the Motion to Enforce Automatic Stay on

 September 11, 2018.

        17.    On January 15, 2019, the Court issued a decision titled Memorandum Decision

 Regarding Debtors’ Motion to Enforce the Automatic Stay and for Contempt, Concluding that



                                                4


18-50757-amk     Doc 3088     FILED 08/22/19        ENTERED 08/22/19 15:24:26      Page 4 of 15
 Meadville Forging Company’s Actions to Terminate its Power Supply Contract with Debtor FES

 Was Unlawful and Constituted a Violation of the Automatic Stay (the “Memorandum Decision”)

 [Dkt. No. 1962]. Among other things, the Court ruled that Meadville is not a forward contract

 merchant with respect to the electric power market and that Meadville’s termination of the CSA

 was a violation of the automatic stay. The Court deferred any ruling on sanctions for Meadville’s

 violation of the automatic stay. The Memorandum Decision is not a final order.

         18.      Since February 2019, the Settlement Parties have engaged in extensive good-faith,

 arm’s-length negotiations regarding a final resolution of the Motion to Enforce Automatic Stay

 and the issue of sanctions. These negotiations ultimately produced the Settlement Agreement.

     B. The Settlement Agreement

         19.      The Settlement Parties entered into the Settlement Agreement in order to avoid

 the burden, expense and uncertainty of further litigating their dispute regarding sanctions or

 regarding a possible appeal of the Preliminary Order or Memorandum Decision.                 (Farley

 Declaration ¶¶ 16-17.) The Settlement Agreement also provides value to FES’s business by

 facilitating a mutually-beneficial business relationship between Meadville and FES going

 forward. (Farley Declaration ¶ 18.) Among other things, the Settlement Agreement provides

 that:

               a. Meadville shall provide FES with a “last look” opportunity to match any pricing
                  offer provided to Meadville by another electricity supplier for terms starting after
                  December 31, 2022, and such “last look” opportunity shall be in effect for three
                  years after December 31, 2022 (the “Last Look Provision”);

               b. Meadville waives any right to appeal or reconsideration of the issues addressed in
                  the Preliminary Order or Memorandum Decision;

               c. FES agrees not to seek sanctions against Meadville relating to Meadville’s
                  conduct described in the Memorandum Decision; and




                                                    5


18-50757-amk        Doc 3088     FILED 08/22/19         ENTERED 08/22/19 15:24:26         Page 5 of 15
              d. FES shall file a motion pursuant to Bankruptcy 9019 seeking entry of an order
                 approving the Settlement Agreement and a final order consistent with the Court’s
                 findings in the Memorandum Decision.

                                        RELIEF REQUESTED

        20.      By this Motion, the Debtors request that the Court (i) enter an order pursuant to

 section 105 of the Bankruptcy Code and Rule 9019(a) of the Bankruptcy Rules authorizing and

 approving the Settlement Agreement and authorizing the Debtors to enter into the Settlement

 Agreement and to perform all obligations thereunder; and (ii) enter a final order consistent with

 the Court’s findings in the Memorandum Decision.

                                            ARGUMENT

    A. Overview of the Rule 9019 Standard

        21.      Approval of the Settlement Agreement is governed by Rule 9019(a) of the

 Bankruptcy Rules, which provides that “[o]n motion by the trustee and after notice and a

 hearing, the court may approve a compromise or settlement.” In order to approve a settlement, a

 court must find that the settlement is fair and equitable and in the best interests of the debtors’

 estates. Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390

 U.S. 414, 424–25 (1968); see also Treinish v. Topco Assocs., Inc. (In re AWF Liquidation Corp.),

 208 B.R. 399, 400 (Bankr. N.D. Ohio 1997); McGraw v. Yelverton (In re Bell & Beckwith), 87

 B.R. 476, 478 (N.D. Ohio 1988); In re Mobile Air Drilling Co., 53 B.R. 605, 607 (Bankr. N.D.

 Ohio 1985). In doing so, the Court need not decide the numerous issues of law and fact raised in

 the underlying dispute, but must only “canvass the issues in order to determine whether the

 settlement falls below the lowest point in the range of reasonableness, and if the settlement falls

 within a range of reasonable compromises, it may be approved.” In re Junk, 566 B.R. 897, 912

 (Bankr. S.D. Ohio 2017) (citing In re Nicole Gas Prod., 518 B.R. 429, 441 (Bankr. S.D. Ohio

 2014)); see also In re Bell & Beckwith, 87 B.R. at 479; Cosoff v. Rodman (In re W.T. Grant Co.),
                                                 6


18-50757-amk       Doc 3088    FILED 08/22/19        ENTERED 08/22/19 15:24:26          Page 6 of 15
 699 F.2d 599, 608 (2d Cir. 1983); In re Purofied Down Prods. Corp., 150 B.R. 519, 522 (Bankr.

 S.D.N.Y. 1993).

        22.     The Court need not “conduct a ‘mini-trial,’” but rather only need be apprised of

 those facts that are necessary to enable it to evaluate the settlement and to make a considered and

 independent judgment about the settlement. Fishell v. Soltow (In re Fishell), no. 94-1109, 1995

 WL 66622, at *3 (6th Cir. Feb. 16, 1995); see also In re Pugsley, 569 B.R. 704, 707–08 (Bankr.

 N.D. Ohio 2017); In re Adelphia Commc’n Corp., 327 B.R. 143, 159 (Bankr. S.D.N.Y. 2005). In

 order to evaluate the necessary facts, a court may rely on the opinion of trustees, settlement

 parties, and professionals. In re Chemtura Corp., 439 B.R. 561, 594 (Bankr. S.D.N.Y. 2010)

 (citation omitted); see also In re Best Prods. Co., 168 B.R. 35, 50 (Bankr. S.D.N.Y. 1994) (“All

 of this does not mean, however, that the Court must conduct its own investigation concerning the

 reasonableness of the settlement; the Court may credit and consider the opinion of counsel that

 the settlement is fair and equitable.”).

        23.     In addition, the Court’s review of a settlement should be viewed “in light of the

 general public policy favoring settlements.” In re Hibbard Brown & Co., Inc., 217 B.R. 41, 46

 (Bankr. S.D.N.Y. 1998); see also Myers v. Martin (In re Martin), 91 F. 3d 389, 393 (3d Cir. 1996)

 (“compromises are favored in bankruptcy”) (citation omitted); Nellis v. Shugrue, 165 B.R. 115,

 123 (S.D.N.Y. 1994) (“the general rule [is] that settlements are favored, and in fact, encouraged

 by the approval process outlined above”).

        24.     As noted above, in order to approve a settlement, a court must find that the

 settlement is fair and equitable and in the best interests of the debtors’ estates. TMT Trailer, 390

 U.S. at 424–25.      The Sixth Circuit has set forth four factors to consider in making this

 determination: (i) the probability of success in litigation; (ii) the difficulties, if any, to be



                                                  7


18-50757-amk       Doc 3088     FILED 08/22/19        ENTERED 08/22/19 15:24:26         Page 7 of 15
 encountered in the matter of collection;3 (iii) the complexity of the litigation involved, and the

 expense, inconvenience, and delay necessarily attending it; and (iv) the paramount interest of the

 creditors and a proper deference to their reasonable views. Bard v. Sicherman (In re Bard), 49 F.

 App’x 528, 530 (6th Cir. 2012); see also In re MQVP, Inc., 477 F. App’x at 313; In re Victoria

 Alloys, Inc., 261 B.R. 918, 920 (Bankr. N.D. Ohio 2001); In re AWF Liquidation Corp., 208 B.R.

 at 400; In re Dow Corning Corp., 192 B.R. 415, 421–22 (Bankr. E.D. Mich. 1996); In re Bell &

 Beckwith, 87 B.R. at 478. Additionally, the Supreme Court instructs courts to consider “all other

 factors relevant to a full and fair assessment of the wisdom of the proposed compromise.” TMT

 Trailer, 390 at 424.

     B. The Settlement Agreement Should Be Approved

               i.    The Balance Between the Litigation’s Possibility of Success and the Settlement’s
                     Benefits Weighs in Favor of Approval of the Settlement Agreement

         25.        Considering the balance between the litigation’s possibility of success and the

 settlement’s benefits reflects the Supreme Court’s view that a court should form an “intelligent

 and objective opinion” of the probability of success in the underlying litigation and inherent

 costs of such litigation. TMT Trailer, 290 U.S. at 424. In fact, some courts have identified this

 factor as the most important in determining the reasonableness of the settlement under

 Bankruptcy Rule 9019(a). In re Adelphia, 327 B.R. at 160 (“This factor . . . is in my view the

 most important factor, and I weigh it accordingly.”).

         26.        Courts have found the uncertainty of recovery to be a compelling factor favoring

 approval of a settlement. As the court stated in Adelphia, “there is a range of reasonableness

 with respect to a settlement—a range which recognizes the uncertainties of law and fact in any


 3
   “The first two Bard factors—the probability of success in the litigation and the difficulties in the manner of
 collection—are related can be analyzed together.” Hindelang v. Mid. State After Market Body Parts, Inc. (In re
 MQVP, Inc.), 477 F. App’x 310, 313 (6th Cir. 2012).

                                                        8


18-50757-amk         Doc 3088      FILED 08/22/19           ENTERED 08/22/19 15:24:26              Page 8 of 15
 particular case and the concomitant risks and costs necessarily inherent in taking any litigation to

 completion.” 327 B.R. at 159 (quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)

 (Friendly, J.)); see also O’Connell v. Packles (In re Hilsen), 404 B.R. 58, 71 (Bankr. E.D.N.Y.

 2009) (“[T]he outcome of litigation is nearly always uncertain and may be distant. It is also

 costly. And the enforcement of any resulting judgment may be far from sure. A settlement, by

 contrast, eliminates uncertainty and delay, reduces costs, and brings finality to the parties’

 dispute.”).

        27.     In this case, the benefits to be obtained under the Settlement Agreement more than

 justify the Debtors’ decision to enter the Settlement Agreement with Meadville. The Settlement

 Agreement resolves the dispute between FES and Meadville. As explained above, the Court

 ruled that Meadville’s termination of the CSA was a violation of the automatic stay, but the Court

 deferred any ruling on sanctions for Meadville’s violation of the automatic stay. Without the

 Settlement Agreement, FES would likely have to incur substantial litigation costs relating to

 pursuing sanctions and substantial litigation costs regarding a possible appeal by Meadville of

 the Court’s ruling. (Farley Declaration ¶¶ 16.)

        28.     If FES were to pursue sanctions, in the absence of a Settlement Agreement, at

 best, FES will recover an undetermined amount of sanctions while incurring substantial litigation

 costs. At worst, FES will incur substantial litigation costs and yet receive no award of sanctions.

 With respect to a potential appeal by Meadville, FES’s prospects include only risk and downside.

 Win or lose, FES will incur substantial litigation costs defending the appeal, and at best, FES will

 win the appeal and preserve the Court’s ruling. Pursuing sanctions or defending an appeal would

 be potentially lengthy, costly processes, and FES would have no guarantee of success. (Farley

 Declaration ¶ 17.)



                                                   9


18-50757-amk     Doc 3088      FILED 08/22/19          ENTERED 08/22/19 15:24:26        Page 9 of 15
         29.     Where a settlement “will facilitate a plan of reorganization that will ultimately

  benefit all creditors and reduce the fees, costs and expenses that the estate would have to bear in

  order to litigate . . . extensive, complex, and uncertain issues,” it should be approved. In re

  Kaiser Aluminum Corp., 399 B.R. 91, 96 (D. Del. 2006); In re Idearc, Inc., 423 B.R. 138, 186

  (Bankr. N.D. Tex. 2009), aff’d, 662 F.3d 315 (5th Cir. 2011) (approving settlement that would

  “permit the parties to focus their efforts on assisting the Debtors in promptly emerging from

  chapter 11 and maximizing their value for all constituencies”).

         30.     Additionally, entry into the Settlement Agreement will provide FES with valuable

  benefits to its business by facilitating a mutually-beneficial business relationship with Meadville

  going forward. Although Meadville currently has electricity supply contracts through December

  31, 2022, the Last Look Provision, described above, provides FES with the valuable right to

  provide services to Meadville in the future for a period of three years at market power rates.

  (Farley Declaration ¶ 18.)

         31.     These benefits clearly outweigh the Debtors’ probability of success in pursuing

  sanctions against Meadville or defending a potential appeal of the Court’s ruling. The Debtors’

  ability to realize any benefit from litigating the sanctions or an appeal would, of course, be

  wholly dependent on the ultimate success of the litigation on the merits, which carries inherent

  risks and uncertainty. For these reasons, the Debtors submit that the benefits afforded to the

  Debtors’ estates pursuant to the Settlement Agreement, without needing to incur the significant

  costs and risks associated with further litigation, represent a fair and reasonable exchange for the

  consideration being provided under the Settlement Agreement.




                                                  10


18-50757-amk      Doc 3088      FILED 08/22/19      ENTERED 08/22/19 15:24:26            Page 10 of 15
               ii.    The Length and Cost of Litigation

         32.         In evaluating the reasonableness of a settlement, a court should also “form an

  educated estimate of the complexity, expense, and likely duration of such litigation.” TMT

  Trailer, 390 U.S. at 424; see also In re Bard, 49 F. App’x at 530. Absent approval of the

  Settlement Agreement, FES would have to engage in highly contentious and expensive litigation

  to pursue sanctions against Meadville, and Meadville may appeal the Court’s Preliminary Order

  or Memorandum Decision, which would result in a lengthy and costly appeals process. The

  proposed Settlement Agreement resolves these issues immediately, obtains substantial benefits

  for the Debtors’ estates, and will avoid the likely dissipation of estate resources that would likely

  have to be spent litigating the very issues resolved through the comprehensive Settlement

  Agreement. See In re Ambac Fin. Group., Inc., 457 B.R. 299, 306 (Bankr. S.D.N.Y. 2011)

  (finding this factor satisfied where estate received value for releasing derivative claims “by (i)

  avoiding the significant legal costs in the actions [ . . . ] and (ii) enabling the Debtor’s

  management to continue to work toward the Debtor’s reorganization instead of focusing their

  attention on litigation-related activities which could delay such reorganization and cause the

  Debtor to, among other things, incur substantial administrative expenses”). Consequently, this

  factor weighs in favor of approving the Settlement Agreement.

            iii.      Interests of the Creditors

         33.         A court should also look to the “paramount interests of the creditors and a proper

  deference to their reasonable views” when deciding whether to approve a settlement. In re Bard,

  49 F. App’x at 530. Here, the Settlement Agreement is clearly in the best interests of the

  creditors in these Chapter 11 Cases. Entering into the Settlement Agreement resolves the dispute

  between Meadville and FES. Without this resolution, FES would have to engage in a time-



                                                     11


18-50757-amk         Doc 3088      FILED 08/22/19      ENTERED 08/22/19 15:24:26          Page 11 of 15
  consuming and expensive process to pursue sanctions against Meadville and defend a possible

  appeal by Meadville of the Preliminary Order or Memorandum Decision—an uncertain prospect

  at best.

             34.         Additionally, the Settlement Agreement provides value to FES’s business and

  facilitates a mutually-beneficial business relationship between Meadville and FES going forward

  through the Last Look Provision, discussed above.              These benefits to FES’s business will

  ultimately inure to the benefit of the Debtors’ estates. (See Farley Declaration ¶ 18.)

                   iv.    Other Relevant Factors

             35.         In addition to the factors set forth by the Sixth Circuit in In re Bard, certain

  factors considered by other courts in reviewing settlements under Bankruptcy Rule 9019 also

  weigh in favor of approving the Settlement Agreement. Two such factors—considered by the

  Second Circuit—are “the competency and experience of counsel supporting the settlement” and

  “the extent to which the [proposed] settlement is the product of arm’s-length bargaining.” See

  Motorola, Inc. v. Official Comm. Of Unsecured Creditors (In re Iridium Operating LLC), 478

  F.3d 452, 462 (2d Cir. 2007) (citations and internal quotation marks omitted).

             36.         The Settlement Parties have been represented by skilled and experienced

  bankruptcy and litigation practitioners during these Chapter 11 Cases and the negotiations

  regarding the Settlement Agreement. Courts have previously given this factor substantial weight.

  See e.g. In re Adelphia, 327 B.R. at 164; In re Chemtura Corp., 439 B.R. 561, 608 (Bankr.

  S.D.N.Y. 2010) (holding that settlement easily satisfied the Second Circuit’s requirements, in

  part, because “[n]o argument has been made, nor could any argument be made, that counsel who

  put the Settlement together were anything less that highly skilled in their craft, and

  knowledgeable in the considerations underlying a settlement of this character”).



                                                        12


18-50757-amk             Doc 3088     FILED 08/22/19      ENTERED 08/22/19 15:24:26         Page 12 of 15
         37.     The extent to which the Settlement Agreement is the product of arm’s-length

  bargaining also suggests that the Settlement Agreement should be approved. As discussed

  above, the proposed Settlement Agreement is a product of good-faith negotiations and

  “represents the considered judgment of economically motivated parties who were negotiating at

  arm’s-length to reach the best settlement that could be achieved under the circumstances.” JP

  Morgan Chase Bank, N.A. v. Charter Commc’ns Operating, LLC (In re Charter Commc’ns, Inc.),

  419 B.R. 221, 257 (Bankr. S.D.N.Y. 2009). Ultimately, the Settlement Agreement represents

  concessions by both parties, is the result of extensive negotiation by parties with differing

  economic interests, and was not the result of fraud or collusion. See In re Chemtura Corp., 439

  B.R. at 608.

                                                NOTICE

         38.     Notice of this Motion has been served on the following parties and/or their

  counsel, if known, via facsimile, regular mail, e-mail and/or hand delivery: those parties listed on

  the General Service List (as defined in the Amended Order Pursuant to Sections 102 and 105(a)

  of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 6007, 7016, 9013 and 9014 and

  Local Bankruptcy Rules Establishing: (I) Omnibus Hearing dates; and (II) Certain Case

  Management Procedures [Dkt. No. 280]). The Debtors submit that, in light of the nature of the

  relief requested, no other or further notice need be given.

                                         NO PRIOR REQUEST

         39.     No prior request for the relief sought in this Motion has been made to this or any

  other court.

         WHEREFORE, the Debtors respectfully request that the Court (i) enter an order

  substantially in the form attached hereto as Exhibit B, (ii) enter a final order substantially in the



                                                   13


18-50757-amk      Doc 3088      FILED 08/22/19       ENTERED 08/22/19 15:24:26            Page 13 of 15
  form attached hereto as Exhibit C, and (iii) grant such other and further relief as the Court may

  deem proper.



                            [Remainder of page intentionally left blank]




                                                 14


18-50757-amk     Doc 3088      FILED 08/22/19      ENTERED 08/22/19 15:24:26          Page 14 of 15
  Dated: August 22, 2019             /s /Bridget A. Franklin
                                     BROUSE MCDOWELL LPA
                                     Marc B. Merklin (0018195)
                                     Kate M. Bradley (0074206)
                                     Bridget A. Franklin (0083987)
                                     388 South Main Street, Suite 500
                                     Akron, OH 44311-4407
                                     Telephone: (330) 535-5711
                                     Facsimile: (330) 253-8601
                                     mmerklin@brouse.com
                                     kbradley@brouse.com
                                     bfranklin@brouse.com

                                      - and -

                                     AKIN GUMP STRAUSS HAUER & FELD LLP
                                     Ira Dizengoff (admitted pro hac vice)
                                     Lisa Beckerman (admitted pro hac vice)
                                     Joseph Sorkin (admitted pro hac vice)
                                     One Bryant Park
                                     New York, New York 10036
                                     Telephone: (212) 872-1000
                                     Facsimile: (212) 872-1002
                                     idizengoff@akingump.com
                                     lbeckerman@akingump.com
                                     jsorkin@akingump.com

                                            - and -

                                     Scott Alberino (admitted pro hac vice)
                                     Kate Doorley (admitted pro hac vice)
                                     2001 K Street, N.W.
                                     Washington, D.C. 20006
                                     Telephone: (202) 887-4000
                                     Facsimile: (202) 887-4288
                                     salberino@akingump.com
                                     kdoorley@akingump.com

                                     Counsel for Debtors and Debtors in Possession




                                            15


18-50757-amk    Doc 3088   FILED 08/22/19    ENTERED 08/22/19 15:24:26        Page 15 of 15
